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Motion denied without prejudice for failure to comply with
Fed. R. Civ. P. 37, Local Civil Rule 37.2, and this Court's
Individual Practices Rule 4.E. However, the Court construes
plaintiff's submission as a request for a conference, and
directs defendants to file a response to the discovery
disputes raised in plaintiff's submission (Doc. 52) by
11/9/2021. The Clerk of Court is requested to mail a copy of
this Order to Plaintiff.

SO ORDERED.

_______________________
Philip M. Halpern
United States District Judge

Dated: White Plains, New York
       November 2, 2021
